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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :       Case No. 21-CR-206 (RDM)
                                                     :
                v.                                   :
                                                     :
JONATHAN MELLIS,                                     :
                                                     :
                               Defendant.            :


                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the above defendant, by and through his counsel, David Benowitz,

Esq., respectfully submit this Joint Status Report in the above-mentioned matter. In support of this

Joint Status Report, the parties rely on the following points and authorities and any other such

points and authorities as may be raised at any hearing on this matter.

       1)       For his conduct on January 6, 2021, Mellis is charged by Indictment with: (1) Civil

 Disorder, in violation of 18 U.S.C. § 231(a)(3); (2) Obstruction of an Official Proceeding, in

 violation of 18 U.S.C. §§ 1512(c)(2) and 2; (3) Assaulting, Resisting, or Impeding Certain

 Officers Using a Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b); (4) Entering

 and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

 violation of 18 U.S.C. §§ l752(a)(1) and (b)(l)(A); (5) Disorderly and Disruptive Conduct in a

 Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

 §§ 1752(a)(2) and (b)(l)(A); (6) Impeding Ingress and Egress in a Restricted Building or Grounds

 with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ l 752(a)(3) and (b)(l)(A); (7)

 Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous

 Weapon, in violation of 18 U.S.C. §§ l752(a)(4) and (b)(I )(A); (8) Disorderly Conduct in a
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 Capitol Building, in violation of 40 U.S.C. §§ 5104(e)(2)(D); (9) Impeding Passage Through the

 Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(E); and (10) Act of Physical

 Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F).

        2)       By way of this Court’s Minute Order dated October 18, 2022, directing the parties

“[i]n light of the reassignment of this case and a conflict in the Court's calendar, the hearing set for

tomorrow, October 19, 2022, is hereby VACATED and RESCHEDULED for October 27, 2022,

at 9:00 a.m., via Zoom. It is further ORDERED that the parties shall file a status report informing

the Court about the general nature and status of this case on or before October 21, 2022.”

        3)       In that regard, undersigned counsel for the government and counsel for the

defendant respectfully request that the Court set a status hearing in this matter for approximately

sixty (60) days because the parties are still discussing a possible non-trial disposition in this matter

and counsel for the defendant further states that he is currently in a jury trial in Virginia for

approximately the next four to six weeks.

        3)       If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties.

        4)       Accordingly, undersigned counsel for the government can represent that counsel

for the defendant joins in this motion and further advise the Court that the defendant agrees that

the Speedy Trial Clock, pursuant to the Speedy Trial Act 18 U.S. Code § 3161, should be tolled

until the next status hearing in this matter.
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       4)       Wherefore, the parties give this Court the current status of this matter and

respectfully request a status hearing in approximately sixty (60) days or whatever date is consistent

with the Court’s calendar.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY


                                      By:      /s/ Emory V. Cole
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